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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE OIL SPILL BY THE OIL RIG               *        MDL 2179
“DEEPWATER HORIZON” IN THE                   *
GULF OF MEDICO ON APRIL 20,                  *        JUDGE BARBIER
2010.                                        *
                                             *        SECTION “J”
Member case: Duong et. al. v. BP             *
             American Production             *        MAGISTRATE JUDGE WILKINSON
             Company et al; 12-814           *
                                             *        MAG. DIV. 2
                                             *
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                                              ORDER

       Considering the foregoing unopposed ex parte motion and incorporated memorandum for

extension of time within which to file responsive pleadings filed by defendants BP America

Production Company, BP Exploration and Production, Inc., DRC Emergency Services, LLC and

Danos and Curole Marine Contractors, LLC (collectively, “Defendants”)

       IT IS HEREBY ORDERED that the motion is GRANTED.                      The Defendants are

granted an extension of time to respond to the plaintiffs’ complaint. The Defendants’ respective

responses to the plaintiffs’ complaint shall be due 21 days following the denial of BP’s motion to

stay. In the event that BP’s motion to stay is granted, the Defendants shall file responsive

pleadings by a deadline to be set by the Court at a later date.

       New Orleans, Louisiana, this _______ day of May, 2012.




                                                 UNITED STATES MAGISTRATE JUDGE
